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                 EXHIBIT A
   7/2/2019                                                                                             T-Mobile Terms and Conditions
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Did you activate (or renew) service prior to August 22, 2018? If yes, please click the date for the applicable version of the Terms and Conditions: August 10, 2018 | September 20, 2017 | September 1, 2016 | March 17,
2016 | February 17, 2016 | January 25, 2016 | November 14, 2015 | June12, 2015 | March 18, 2015 |November 10, 2014 |March 27, 2014 |October 20, 2013 |December 30, 2011 |July 24, 2011 |July 18, 2010 |June 28,
2008 | December 2004

                                                                                                 T-Mobile Terms & Conditions

                                                                                                 Effective as of August 22, 2018

Thanks for choosing T-Mobile. Please read these Terms & Conditions (“T&Cs”), which contain important information about your relationship with T-Mobile, including mandatory arbitration of disputes between us,
instead of class actions or jury trials. You will become bound by these provisions once you accept these T&Cs.

WHO IS THIS AGREEMENT WITH?

These T&Cs are an agreement between you and us, T-Mobile USA, Inc., and our controlled subsidiaries, assignees, and agents.
HOW DO I ACCEPT THESE T&Cs?

You accept these T&Cs by doing any of the following things:
   giving us a written or electronic signature or confirmation, or telling us orally that you accept;
   activating, using or paying for the Service or a Device; or
   opening the Device box.
If you don’t want to accept these T&Cs, don’t do any of these things.

When you accept, you're telling us that you are of legal age (which means you are either legally emancipated, or have reached the age of majority as defined in your jurisdiction) and that you are able to enter into a
contract. If you accept for an organization, you're telling us that you are authorized to bind that organization, and references to "you" in these T&Cs may mean the organization.

WHAT IS INCLUDED IN THESE TERMS AND CONDITIONS?

In these T&Cs, you'll find important information about:
   T-Mobile services provided to you (“Services”);
   Any equipment for which we provide Service, such as a phone, handset, tablet, or SIM card (collectively, a “Device”);
   Any charges, taxes, fees, and other amounts we bill you or that were accepted or processed through your Device (“Charges”);
   Privacy information;
   Network management practices;
   Limitations of liability; and
   Resolution of disputes by arbitration and class action and jury trial waivers (full terms available here).
ARE THERE ANY OTHER TERMS THAT APPLY TO ME?

Yes. Your “Agreement” includes these T&Cs, the additional terms found in your Rate Plan, your Data Plan, your Service Agreement, and provisions linked to from these T&Cs. Sections marked “*” continue after
termination of our Agreement with you.
You should also be aware that our Privacy Policy and Open Internet Policy apply to the use of our products and services.

You might also have other agreements with us, such as an equipment installment plan or JUMP! On Demand Lease Agreement.
*HOW DO I RESOLVE DISPUTES WITH T-MOBILE?

By accepting these T&Cs, you are agreeing to resolve any dispute with us through binding arbitration or small claims dispute procedures (unless you opt out), and to waive your rights to a jury trial and to participate in
any class action suit. Your complete arbitration agreement, including opt-out instructions, is available here, and the opt-out website is available here. For additional terms and conditions governing a dispute between
us, including how to dispute Charges assessed to you on your bill, choice of law, disclaimers of certain warranties, limitations of liabilities, and your indemnification obligations, click here.
WHAT IS A RATE PLAN?

Your “Rate Plan” includes your Service allotments, for example, for minutes, messages or data, rates, coverage and other terms. T-Mobile may introduce access to new technologies, features, or services that you can
add for an additional charge. You can check your current usage by visiting my.T-mobile.com, or by using a short code from your Device (you can find more information about the short code at www.t-mobile.com). If any
term in your Rate Plan conflicts with these T&Cs, the term in your Rate Plan governs.
HOW WILL I BE CHARGED FOR DATA USAGE?

Data service may be included in your Rate Plan or data pass or you may be charged for data usage on a pay per use basis (“Data Plan”). Your Rate Plan and/or Data Plan will contain more information about how we
calculate data usage. You can check your current usage by visiting my.T-mobile.com or by using a short code from your device (you can find more information about the short code at www.t-mobile.com). If you do not
have a Data Plan, your Device may not be able to access data services.

ARE THERE SEPARATE TERMS FOR PREPAID CUSTOMERS?

The terms of these T&Cs apply to prepaid customers, and additional terms specific to prepaid customers may be found here.
HOW DO I GIVE OTHER PEOPLE ACCESS TO MY ACCOUNT?

If you want someone else to be able to access and manage your account, you can establish them as an “Authorized User,” so they can:
   Make changes to your account;
   Add or remove services or features to your account;
   Receive notices and disclosures on your behalf;
   Purchase Devices for use with our Service, including under an installment plan; and
   Incur Charges on your account.
The easiest way to designate an Authorized User is online through your my.T-mobile.com account. Keep in mind that you should not share your account validation information, which includes the last four digits of your
social security number or your passcode. An Authorized User will need to verify identity before we provide access to account information. When calling us, this requires presentation of the last four digits of the primary
account holder’s social security number or the account PIN/passcode. This information is sensitive so take steps to protect it. We will treat presentation of the proper account validation information as authorized
access to an account.

WHERE, HOW, AND WHEN DOES MY SERVICE WORK?

These T&Cs describe the experience you can expect on our network, including information about our reasonable network management practices, and the experience on our roaming partners’ networks:
   Please check our coverage maps, which approximate our anticipated coverage area outdoors. Your experience on our network may vary and change without notice depending on a variety of factors. For more
   information, click here. You agree that we are not liable for problems relating to Service availability or quality.
   For more information about roaming, click here.
   To provide the best possible experience for the most possible customers on T-Mobile branded plans, we prioritize the data usage of a small percentage of our heavy data users, specifically those using more than
   50GB of data in a billing cycle below that of other customers. This threshold number applies to all rate plans, is periodically evaluated, and may change over time. We also prioritize the data of customers who
   choose certain rate plans after the data for other T-Mobile branded rate plans, but before customers using more than 50GB of data in a billing cycle. Customers whose data is prioritized lower may notice speeds
   lower than customers with higher priority in times and locations where there are competing customer demands for network resources. See your selected service or visit our Open Internet page at the link below for
   details. We prioritize smartphone and mobile internet (tablet) over Smartphone Mobile HotSpot (tethering) traffic on our network. Click here for more information.
   We utilize streaming video optimization technology in our network on qualifying Rate Plans to help minimize data consumption while also improving the service experience for all customers. Some Rate Plans have
   video optimization via the Binge On feature. Some qualifying video providers may choose to opt-out of the Binge On program. For a list of opt-out providers visit http://www.t-mobile.com/offer/binge-on-streaming-
   video.html#. The Binge On optimization technology is not applied to the video services of these providers; video from these services will stream at native resolution, and high-speed data consumption will continue
   as if Binge On were not enabled.
   Additionally, we may implement other network practices, such as caching less data.
   Our Open Internet Policy includes important information on these topics as well as information on commercial terms, performance characteristics (such as expected speed, latency and network practices).
*WHAT ARE THE PERMITTED AND PROHIBITED USES FOR MY DEVICE AND THE SERVICES?

Our wireless network is a shared resource, which we manage for the benefit of all of our customers. Your Data Plan is intended for Web browsing, messaging, and similar activities. Certain activities and uses of our
Services and your Device are permitted and others are not. For examples of permitted and prohibited uses, click here. If you buy, lease, or finance a Device manufactured for use on our network, you agree, and we
relyhttps://www.t-mobile.com/templates/popup.aspx?PAsset=Ftr_Ftr_TermsAndConditions
     on your agreement, that you intend it to be activated on our Service and will not resell or modify the Device, or assist anyone doing so.                                                                    1/5
                                                                                                                                                                                                   Exhibit A, p. 1
*WHAT HAPPENS IF MY DEVICE IS LOST OR STOLEN?
  7/2/2019                                                                                             T-Mobile Terms and Conditions
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You agree to notify us if your Device is lost or stolen. Once you notify us, we will suspend your Service. Click here to learn more about how we handle Charges that are incurred after you report that your Device is lost
or stolen.

*HOW WILL I BE BILLED FOR USE OF THE SERVICES?

You agree to pay all Charges we assess and bill you or that were accepted or processed through all Devices on your account. Off-Rate Plan Charges. You may have to pay extra for calls to some numbers (e.g.,
conference & chat lines, broadcast, calling card, international, 900 or 976 calls, etc.). You agree to provide us with accurate and complete billing and tax related information and to report all changes within 30 days of
the change. You will receive an electronic (paperless) bill unless you tell us you want a paper bill. You have the option of switching to a paper bill at no cost to you by changing your billing preferences at my t-mobile or
by contacting Customer Care. For more information about paperless billing, please visit www.t-mobile.com/billterms.

Your Device can be used to purchase services and products from third parties, and Charges for these purchases may be included on your T-Mobile bill. For no additional cost you can block third party charges from
being included on your T-Mobile bill by logging into your account at www.my.t-mobile.com or calling Customer Care. For more information about billing, click here.

WHAT IF I DON’T PAY ON TIME?

We may charge a late fee of the greater of 1.5% per month (18% annually) or $5 per month and a returned payment fee up to $35, subject to the maximum allowed by law. We may use a collection agency to collect
past due balances and you agree to pay collection agency fees. If we accept late or partial payments, you still must pay us the full amount you owe, including late fees. We will not honor limiting notations you make on
or with your checks. Late payment, non-payment or collection agency fees are liquidated damages intended to be a reasonable advance estimate of our costs resulting from late payments and non-payments by our
customers; these costs are not readily ascertainable and are difficult to predict or calculate at the time that these fees are set.

*DOES T-MOBILE CHECK MY CREDIT?

Yes, for many of our products and services. We may get information about your credit history from credit-reporting agencies, which may affect your credit rating. We may also report your payment record to credit-
reporting agencies.

AM I REQUIRED TO MAKE A DEPOSIT?

We may require you to make a deposit or prepayment for Services. We can apply deposits, payments, or prepayments in any order to any amounts you owe us on any account. This deposit is refundable, and will be
applied as a credit to your account along with interest as may be required by law.

CAN T-MOBILE ACCESS MY DEVICE?

We may remotely change software, systems, applications, features or programming on your Device without notice. These changes will modify your Device and may affect or erase data you have stored on your
Device, the way you have programmed your Device, or the way you use your Device. You will not be able to use your Device during the installation of the changes, even for emergencies.

CAN I DOWNLOAD AND USE THIRD PARTY CONTENT AND APPS ON MY DEVICE?

Yes. You are free to download and use content or applications (“Content & Apps”) on your Device that are not provided by T-Mobile, at your own risk. Third party Content & Apps may require your agreement to a
license or other terms with the third party. Some Devices or Content & Apps may contact our network without your knowledge, which may result in additional Charges (e.g., while roaming internationally).
*LICENSE

Your Device’s Software is licensed, not sold, to you by T-Mobile and/or other licensors for your personal, lawful, non-commercial use on your Device only. You may only use the Software as authorized by its license.
Your Device’s “Software” includes its software, interfaces, documentation, data, and Content & Apps, as each may be updated or replaced by feature enhancements or other updates. For additional information
regarding these license terms, including restrictions on your use of the Software, please click here.
*WHAT IS THE TERM OF THESE T&Cs?

As the Un-Carrier, we did away with annual service contracts. You are free to go, although we’d be sad to see you leave. You are responsible for all Charges incurred through the end of your Service term. If you port
your number to another carrier, your Service will be deactivated. In addition, cancellation of Service may affect other agreements that you have with us, including equipment installment plans or lease agreements
where some of your payments may be accelerated upon cancellation.

CAN T-MOBILE CHANGE OR TERMINATE MY SERVICES OR THIS AGREEMENT?

Yes. Except as described below for Rate Plans with the price-lock guarantee (including the "Un-Contract Promise"), we may change, limit, suspend or terminate your Service or this Agreement at any time, including if
you engage in any of the prohibited uses described here or no longer reside in a T-Mobile-owned network coverage area. Under certain limited circumstances, we may also block your device from working on our
network. If the change to your Service or Rate Plan will have a material adverse effect on you, we will provide 14 days’ notice of the change. You’ll agree to any change by using your Service after the effective date of
the change. We may exclude certain types of calls, messages or sessions (e.g. conference and chat lines, broadcast, international, 900 or 976 calls, etc.), in our sole discretion, without further notice.

If you are on a price-lock guaranteed Rate Plan, we will not increase your monthly recurring Service charge (“Recurring Charge”) for the period that applies to your Rate Plan, or, if no specific period applies, for as long
as you continuously remain a customer in good standing on a qualifying Rate Plan. If you switch plans, the price-lock guarantee for your new Rate Plan will apply (if there is one). The price-lock guarantee is limited to
your Recurring Charge and does not include, for example, add-on features, taxes, surcharges, fees, or charges for extra features or Devices. If your Service or account is limited, suspended or terminated and then
reinstated, you may be charged a reactivation fee. For information about our unlocking policy, click here.

*YOUR CONSENT TO BE CONTACTED
We may contact you without charge, on any wireless telephone number assigned to your account for any purpose, including marketing, and in any manner permitted by law. You also expressly consent to be contacted
by us, and anyone contacting you on our behalf, for any purpose, including billing, collection, or other account or service related purpose, at any telephone number or physical or electronic address where you may be
reached, including any wireless telephone number. You agree that T-Mobile, and anyone contacting you on our behalf, may communicate with you in any manner, including using a pre-recorded or artificial voice, using
an automatic telephone dialing system to place calls or send messages, or alerts, or using an automatic e-mail system to deliver email messages. If a contact number you have provided to us is no longer your
number, you agree to notify us promptly that you can no longer be reached at that number. You represent that you have received, and are authorized to convey to us, the consent of any authorized users on your
account to be contacted by us as described in this Section. You agree that all consents provided in this Section will survive cancellation of your Service and account.

HOW DO WE NOTIFY EACH OTHER?

You may contact us at www.T-Mobile.com, by calling 1-800-937-8997 or 611 from your Device, or by writing to: T-Mobile Customer Relations, P.O. Box 37380, Albuquerque, NM 87176-7380. Puerto Rico customers
you may contact us at www.t-mobile.com, by calling 1-800-937-8997 or 611 from your Device, or by writing to: T-Mobile Customer Relations, B7 Tabonuco Street, Suite 700, Guaynabo, Puerto Rico 00968-3349, Attn:
Customer Care Manager. Electronic notices are considered delivered when sent. Mail notices are considered delivered 3 days after mailing. For multi-line accounts, we may assign a “Primary Telephone Number” to
your account for the purpose of receiving notices, as well as for other purposes. If you would like to change it, contact us.

To begin arbitration or any other legal proceeding, you must serve our registered agent. Our registered agent is Corporation Service Company and can be contacted at 1-866-403-5272. For Puerto Rico customers,
our registered agent is Fast Solutions, LLC and can be contacted at Citi Tower, 252 Ponce de Leon Avenue, Floor 20, San Juan, Puerto Rico, 00918, phone: 1-787-688-5881.

EMERGENCY ALERTS

T-Mobile has chosen to offer wireless emergency alerts, within portions of its coverage area. Wireless alert capable handsets with appropriate notification settings are required for the service. There is no additional
charge for these wireless emergency alerts. For details visit www.t-mobile.com/responsibility/consumer-info/safety/wireless-emergency-alerts.

911 ACCESS

911 services are made possible by your state and local government. T-Mobile handsets are capable of making calls to 911 in the United States, and 911 access is available to customers regardless of your Rate Plan.
The handset must have battery power and connectivity to complete a 911 call. When making 911 calls, you should be prepared to provide information about where you are located. In some cases, 911 communications
center operators may not know your phone number or have information about your location. Other third-party entities are involved in connecting a 911 call and T-Mobile does not determine the public safety agency to
which your 911 call is routed. If you are porting a phone number to or from us, we may not be able to provide you with some Services, such as 911 location services, while the port is in process. If you are outside the
U.S., you may have to dial a different number than 911 to call emergency services.

Wi-Fi Calling. Wi-Fi Calling services use an internet connection to make calls, including 911 calls, and calls to 911 using Wi-Fi Calling operate differently than traditional 911. When enabling Wi-Fi Calling, you must
provide us with the primary street address at which the Wi-Fi Calling service will be used (“Registered Location”). If you call 911 over Wi-Fi, we will provide your Registered Location to the public service entity that
answers the call, and it may be used to help emergency responders locate you. You agree to update your Registered Location if you use Wi-Fi service at a different location. You can update your Registered Location
by accessing your MyT-Mobile.com account or by contacting T-Mobile Customer Care. Text-to-911. Text to 911 may be available in some locations where T-Mobile service is provided, and is dependent on the public
safety agency’s ability to receive text messages.

Calls to 911 from a TTY will not work when using Wi-Fi Calling or Voice over LTE (“VoLTE”). If you cannot make a voice call to 911, T-Mobile recommend that you use an internet-based Telecommunications Relay
Service such as Video Relay Service, IP Relay Service, or IP Captioned Telephone Service. T-Mobile Real-Time Text (“RTT”) technology is available on T-Mobile’s network and can be used on select devices to
contact 911. For more information, see www.t-mobile.com/accessibilitypolicy.

PARENTAL CONTROLS

Wehttps://www.t-mobile.com/templates/popup.aspx?PAsset=Ftr_Ftr_TermsAndConditions
   offer services that help you to monitor and filter, or restrict, internet access to minors. See T-Mobile.com for details.                                                                                        2/5
                                                                                                                                                                                                     Exhibit A, p. 2
*WHAT ELSE DO I NEED TO KNOW?
  7/2/2019                                                                                               T-Mobile Terms and Conditions
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Click here for additional terms that apply to you.


                                                                                                        Dispute Resolution

*HOW DO I RESOLVE DISPUTES WITH T-MOBILE?

Dispute Resolution and Arbitration. YOU AND WE EACH AGREE THAT, EXCEPT AS PROVIDED BELOW, ANY AND ALL CLAIMS OR DISPUTES IN ANY WAY RELATED TO OR CONCERNING THE
AGREEMENT, OUR PRIVACY POLICY, OUR SERVICES, DEVICES OR PRODUCTS, INCLUDING ANY BILLING DISPUTES, WILL BE RESOLVED BY BINDING ARBITRATION OR IN SMALL CLAIMS COURT.
This includes any claims against other parties relating to Services or Devices provided or billed to you (such as our suppliers, dealers, authorized retailers, or third party vendors) whenever you also assert claims
against us in the same proceeding. You and we each also agree that the Agreement affects interstate commerce so that the Federal Arbitration Act and federal arbitration law, not state law, apply and govern the
enforceability of this dispute resolution provision (despite the general choice of law provision set forth below). THERE IS NO JUDGE OR JURY IN ARBITRATION, AND COURT REVIEW OF AN ARBITRATION
AWARD IS LIMITED. THE ARBITRATOR MUST FOLLOW THIS AGREEMENT AND CAN AWARD THE SAME DAMAGES AND RELIEF AS A COURT (INCLUDING ATTORNEYS’ FEES).

For Puerto Rico customers, references to "small claims court" should be understood to mean the Puerto Rico Telecommunications Regulatory Board (“TRB”) for matters within the jurisdiction of said agency. See
OTHER TERMS REGARDING DISPUTE RESOLUTION for details on the billing dispute process in Puerto Rico.

Notwithstanding the above, YOU MAY CHOOSE TO PURSUE YOUR CLAIM IN COURT AND NOT BY ARBITRATION IF YOU OPT OUT OF THESE ARBITRATION PROCEDURES WITHIN 30 DAYS FROM THE
EARLIER OF THE DATE YOU PURCHASED A DEVICE FROM US OR THE DATE YOU ACTIVATED A NEW LINE OF SERVICE (the “Opt Out Deadline”). You must opt out by the Opt Out Deadline for each line
of Service. You may opt out of these arbitration procedures by calling 1-866-323-4405 or online at www.T-Mobiledisputeresolution.com. Any opt-out received after the Opt Out Deadline will not be valid and you
will be required to pursue your claim in arbitration or small claims court.

For all disputes, you must first give us an opportunity to resolve your claim by sending a written description of your claim to the address provided in the “How Do We Notify to Each Other” Section below. You and we
each agree to negotiate your claim in good faith, and you agree that you may not commence any arbitration or court proceeding unless you and we are unable to resolve the claim within 60 days after we receive your
claim description. You and we each agree that if you fail to timely pay amounts due, we may assign your account for collection, and the collection agency may pursue, in small claims court, claims limited strictly to the
collection of the past due amounts and any interest or cost of collection permitted by law or this Agreement.

If the arbitration provision applies or you choose arbitration to resolve your disputes, then either you or we may start arbitration proceedings. You must send a letter requesting arbitration and describing
your claim to our registered agent (see the “How Do We Notify to Each Other” section below) to begin arbitration. The arbitration of all disputes will be administered by the American Arbitration Association ("AAA")
under its Consumer Arbitration Rules in effect at the time the arbitration is commenced. The AAA rules are available at www.adr.org or by calling 1-800-778-7879. The arbitration of all disputes will be conducted by a
single arbitrator, who shall be selected using the following procedure: (a) the AAA will send the parties a list of five candidates; (b) if the parties cannot agree on an arbitrator from that list, each party shall return its list
to the AAA within 10 days, striking up to two candidates, and ranking the remaining candidates in order of preference; (c) the AAA shall appoint as arbitrator the candidate with the highest aggregate ranking; and (d) if
for any reason the appointment cannot be made according to this procedure, the AAA may exercise its discretion in appointing the arbitrator. Upon filing of the arbitration demand, we will pay or reimburse all filing,
administration and arbitrator fees. An arbitrator may award on an individual basis any relief that would be available in a court, including injunctive or declaratory relief and attorneys’ fees. In addition, for claims under
$75,000 as to which you provided notice and negotiated in good faith as required above before initiating arbitration, if the arbitrator finds that you are the prevailing party in the arbitration, you will be entitled to recover
reasonable attorneys’ fees and costs. Except for claims determined to be frivolous, we agree not to seek attorneys’ fees in arbitration even if permitted under applicable law.

CLASS ACTION WAIVER. YOU AND WE EACH AGREE THAT ANY PROCEEDINGS, WHETHER IN ARBITRATION OR COURT, WILL BE CONDUCTED ONLY ON AN INDIVIDUAL BASIS AND NOT AS A
CLASS, REPRESENTATIVE, OR CONSOLIDATED ACTION. If a court or arbitrator determines in an action between you and us that any part of this Class Action Waiver is unenforceable with respect to any claim,
the arbitration agreement and Class Action Waiver will not apply to that claim, but they will still apply to any and all other claims that you or we may assert in that or any other action. If you opt out of the arbitration
provision as specified above, this Class Action Waiver provision will not apply to you. Neither you, nor any other customer, can be a class representative, class member, or otherwise participate in a
class, consolidated, or representative proceeding without having complied with the opt out requirements above.

JURY TRIAL WAIVER. If a claim proceeds in court rather than through arbitration, YOU AND WE EACH WAIVE ANY RIGHT TO A JURY TRIAL.


                                                                                          Other Terms Regarding Dispute Resolution

*HOW CAN I DISPUTE MY CHARGES?

If you have any questions about your bill or want to dispute any Charges, please contact us by visiting www.T-Mobile.com, by calling 800-937-8997 or 611 from your Device, or by writing to T-Mobile Customer
Relations, P.O. Box 37380, Albuquerque, NM 87176-7380. Puerto Rico customers: You may contact us at www.T-Mobile.com, by calling 1-800-937-8997 or 611 from your Device, or by writing to us at: T-Mobile
Customer Relations, B7 Tabonuco Street, Suite 700, Guaynabo, Puerto Rico 00968-3349, Attn.: Customer Care Manager. If this does not fix things, please notify us in writing. Unless otherwise provided by law, you
must notify us in writing of any dispute regarding your bill or Charges to your account within 60 days after the date you first receive the disputed bill or Charge. If you don’t, you may not pursue a claim in arbitration or
in court. If you accept a credit, refund or other compensation or benefit to resolve a disputed bill or Charge, you agree that the issue is fully and finally resolved and T-Mobile shall be released from any and all liability
regarding said dispute. Unless otherwise provided by law, you must pay disputed Charges until the dispute is resolved.
Puerto Rico customers: Unless otherwise provided by law or these T&Cs, for billing disputes, you must notify us not later than 20 days from the date the disputed bill was sent to you. If you don’t, you may not pursue
a claim in arbitration or with the TRB. We will provide you with a determination regarding the billing dispute you present to us within 20 days after we receive it. You will have 20 days from the mailing date of the
notification to request a reconsideration of our determination. You may appeal our determination to the TRB by filing a petition for review up to 30 days after the date of our determination. Your petition for review shall
be made through the filing of a document containing the following information: (a) your name and address; (b) our company name; (c) the pertinent facts; (d) any applicable legal provisions that you are aware of; and
(e) the remedy you are requesting. The document may be filed handwritten or typewritten and must be signed by you. You must send us a copy of your document to the following address: B-7 Calle Tabonuco Suite
7000, Guaynabo, Puerto Rico 00969, Attn: Customer Care Manager. You must send your petition for review to the Puerto Rico Telecommunications Regulatory Board at the following address: 500 Ave. Roberto H.
Todd (Pda. 18 - Santurce), San Juan, Puerto Rico 00907-3941. The TRB will review our determination only on appeal. You are advised of the provisions regarding suspension of Service that appear in Law 33 of July
7, 1985, Law 213 of September 12, 1996 and Regulations 8065 promulgated on August 31, 2011 by the TRB regarding the procedures for customer’s dispute resolution and suspension of Services.
*CHOICE OF LAW

This Agreement is governed by the Federal Arbitration Act, applicable federal law, and the laws of the state or jurisdiction in which your billing address in our records is located, without regard to the conflicts of laws
rules of that state or jurisdiction. Foreign laws do not apply. Arbitration or court proceedings must be in the county and state or jurisdiction in which your billing address in our records is located, but not outside the U.S.;
or Puerto Rico.
*DISCLAIMER OF WARRANTIES

Except for any written warranty that may be provided with a T-Mobile Device you purchase from us, and to the extent permitted by law, the Services and Devices are provided on an “as is” and “with all
faults” basis and without warranties of any kind. We make no representations or warranties, express or implied, including any implied warranty of merchantability or fitness for a particular purpose
concerning your Service or your Device. We can’t and don’t promise uninterrupted or error-free service and don’t authorize anyone to make any warranties on our behalf. This doesn’t deprive you of
any warranty rights you may have against anyone else. We do not guarantee that your communications will be private or secure; it is illegal for unauthorized people to intercept your communications,
but such interceptions can occur.

Services or Software provided by third parties (including voice applications), 911 or E911, text to 911, or other calling or messaging functionality, may work differently than services offered by us, or
may not work at all. Please review all terms and conditions of such third party products. When using these products, we are not responsible for the availability or reliability of 911 calls or text to 911
messages, or if inaccurate location information is provided to the 911 Communications Center. We cannot assure you that if you place a 911 call or text you will be found.
We are not responsible for any download, installation, use, transmission failure, interruption, or delay related to Content & Apps, or any third party content, services, advertisements, or websites you
may be able to access by using your Device or the Services, even if charges for Content & Apps appear on your T-Mobile bill. You are responsible for maintaining virus and other Internet security
protections when accessing third party Content & Apps or other services.

*LIMITATION OF LIABILITY

To the extent permitted by law, you and we each agree to limit claims for damages or other monetary relief against each other to direct and actual damages regardless of the theory of liability. This
means that neither of us will seek any indirect, special, consequential, treble, or punitive damages from the other. This limitation and waiver also applies to any claims you may bring against any other
party to the extent that we would be required to indemnify that party for such claim. You agree we are not liable for problems caused by you or a third party, or by any act of nature. You also agree we
aren't liable for missed or deleted voice mails or other messages, for any information (like pictures) that gets lost or deleted if we work on your Device, or for failure or delay in connecting a call or text
to 911 or any other emergency service. To the extent permitted by law, you and we each also agree that all claims must be brought within 2 years of the date the claim arises.

*INDEMNIFICATION
You agree to defend, indemnify, and hold us and our directors, officers, and employees harmless from any claims arising out of use of the Service or Devices, breach of the Agreement, or violation of any laws or
regulations or the rights of any third party by you, any person on your account, or any person you allow to use the Services or your Device.


                                                                                            Additional Terms for Prepaid Customers
   https://www.t-mobile.com/templates/popup.aspx?PAsset=Ftr_Ftr_TermsAndConditions                                                                                                                                         3/5
                                                                                                                                                                                                            Exhibit A, p. 3
Your  T-Mobile prepaid Service account balance, if sufficient, or your active prepaid plan, gives you access
   7/2/2019                                                                                                  to ourTerms
                                                                                                      T-Mobile       prepaid and
                                                                                                                             Service for a limited amount of time; you must use your prepaid Service during the designated
                                                                                                                                  Conditions
period of availability. To use our prepaid Service you must have a T-Mobile prepaid Service account balance for pay as you go service or be on an active prepaid plan. Service will be suspended when your account
                                    Case 1:19-cv-01299-JKB Document 12-3 Filed 07/08/19 Page 5 of 30
balance reaches zero and/or you are at the end of the time period associated with your prepaid plan. Monthly plan features are available for 30 days, however, depending on the time of day that you activate your
Service or that your Service expires, your service cycle may not equal 30 full 24-hour days. Your monthly plan will automatically renew at the end of 30 days if you have a sufficient T-Mobile prepaid Service account
balance to cover your prepaid Service plan before the first day after your service cycle. If you do not have a sufficient T-Mobile prepaid Service account balance, your prepaid Service will be suspended unless you
move to a pay as you go plan. If you do not reinstate prepaid Service within the required period based upon your service plan, your phone number will be reallocated. The Charges for Service and the amount of time
that Service is available following activation of your prepaid Service account balance may vary; see your Rate Plan for more information. Prepaid Service is non-refundable (even if returned during the Cancellation
Period), and no refunds or other compensation will be given for unused airtime balances, lost or stolen prepaid cards, or coupons. You will not have access to detailed usage records or receive monthly bills. Coverage
specific to our prepaid Service may be found at https://prepaid.t-mobile.com/prepaid/coverage-map and differs from coverage related to our postpaid Service.


                                                                                                       Using Our Network

WILL MY SERVICE VARY? WHAT FACTORS MAY AFFECT MY SERVICE?

As our customer, your actual Service area, network availability, coverage and quality may vary based on a number of factors, including network capacity, terrain, weather, if you are on a private or public Wi-Fi network,
using a non-T-Mobile device, or if your Device no longer supports network technologies compatible with or available on T-Mobile’s network. Outages and interruptions in Service may occur, and speed of Service
varies. Devices also have varying speed capabilities and may connect to different networks depending on technology. Even within coverage areas and with broadband-capable devices, network changes, traffic
volume, outages, technical limitations, signal strength, obstructions, weather, and other conditions may impact speeds and service availability.

We engineer our network to provide consistent high-speed data service, but at times and at locations where the number of customers using the network exceeds available network resources, customers will
experience reduced data speeds. In those cases, customers who choose certain rate plans may notice speeds lower than customers on other T-Mobile branded rate plans, which are prioritized higher on our network.
Further, to provide the best possible on-device experience for the most possible customers on T-Mobile branded plans and minimize capacity issues and degradation in network performance, we may, without advance
notice, take any actions necessary to manage our network on a content-agnostic basis, including prioritizing all on-device data over Smartphone Mobile HotSpot (tethering) data and further prioritizing the data usage
of a small percentage of heavy data users, specifically those using more than 50GB of data in a billing cycle, below that of all other customers in times and locations where there are competing customer demands for
network resources, for the remainder of the billing cycle. This threshold number is periodically evaluated and may change over time.

Where the network is lightly loaded in relation to available capacity, a customer whose data is prioritized below other data traffic will notice little, if any, effect from having lower priority. This will be the case in the vast
majority of times and locations. At times and locations where the network is heavily loaded in relation to available capacity, however, these customers will likely see significant reductions in data speeds, especially if
they are engaged in data-intensive activities. Customers should be aware that these practices may occasionally result in speeds below those typically experienced on our LTE networks. We constantly work to improve
network performance and capacity, but there are physical and technical limits on how much capacity is available, and in constrained locations the frequency of heavy loading in relation to available capacity may be
greater than in other locations. When network loading goes down or the customer moves to a location that is less heavily loaded in relation to available capacity, the customer’s speeds will likely improve. See www.T-
Mobile.com/OpenInternet for details.


                                                                                                             Roaming

*CAN I ROAM ON MY DEVICE?
Domestic Roaming: Your Device may connect to another provider’s network (“Off-Net”). This may happen even when you are within the T-Mobile coverage area. Check your Device to determine if you are Off-Net.
Please do not abuse this; we may limit or terminate your Service if you do. Your device may also connect to another provider’s secured Wi-Fi network. See WHAT ARE THE PERMITTED AND PROHIBITED USES
FOR MY DEVICE AND THE SERVICE? section for additional info.
International Roaming & Dialing: Availability and features offered for international roaming and dialing vary depending on your Rate Plan and Device. All countries may not be available for roaming and available
countries may change from time to time; click here for more information about which countries are currently available for roaming. Whether roaming internationally or making and sending international calls and
messages while in the U.S. (or Puerto Rico), you may be charged international rates (including for voicemails left for you and for data usage). This includes per-minute rates for calls and per-minute rates for calls
transferred to your voicemail and the relevant data rates for data usage. You may be charged for more than one call for unanswered calls that are forwarded to voicemail regardless of whether the calls result in actual
voicemail messages being left for you and regardless of whether your Device is on or off. Different rates and rounding increments apply in different countries. Click here for information on international access, rates,
Services and coverage. While roaming internationally, your data throughput may be reduced and your Service may be otherwise limited or terminated at any time without notice. You are responsible for complying with
U.S. Export Control laws and regulations, and the import laws and regulations of foreign countries when traveling internationally with your Device. The availability of, and access to, emergency calling services (e.g.,
911 in the U.S.), may vary by country. You should familiarize yourself with how to access these services before using your handset for international roaming. See WHAT ARE THE PERMITTED AND PROHIBITED
USES FOR MY DEVICE AND THE SERVICE? section for additional information about international roaming.


                                                                                                         Streaming Video

We deploy streaming video optimization technology in our network as a feature on qualifying Rate Plans, which also helps to ensure that available network capacity can be utilized to provide a good service experience
for the maximum number of customers. The optimization technology is intended to manage data usage on the network, reduce the risk of streaming video stalling and buffering on mobile devices, and reduce the
amount of data consumed for streaming video, making room for other users to enjoy higher speeds and a better network experience overall. Video optimization occurs only to data streams that are identified by our
packet-core network as video or where the video provider has chosen to establish protocols to self-optimize their video. While many changes to streaming video files are likely to be indiscernible, the optimization
process may impact the appearance of the streaming video as displayed on a user’s Device. Customers may have Rate Plans where this feature is always enabled (e.g., “T-Mobile ONE”), with the ability to add a
feature disabling optimization to foster native-resolution video capability. Alternatively, customers may choose Rate Plans that offer video optimization as a customer-controlled feature (e.g., “Binge On”). When this
feature is enabled, on-device video is typically delivered at DVD quality (up to 1.5 Mbps speeds, generally 480p).

Some qualifying video providers may choose to opt-out of the Binge On program, see listing at http://www.t-mobile.com/offer/binge-on-streaming-video.html#. The Binge On optimization technology is not applied to the
video services of these providers; video from these services will stream at native resolution, and high-speed data consumption will continue as if Binge On were not enabled. Rate Plans that feature this technology
allow customers to choose to enable (and disable) video streaming optimization when connected to the cellular network, unless a provider has chosen to opt-out, see listing at http://www.t-mobile.com/offer/binge-on-
streaming-video.html#.

For more information about video optimization, click here.


                                                                       Examples of Permitted and Prohibited Uses of the Services and Your Device

Permitted uses include:
   Voice calls;
   Web browsing;
   Messaging;
   Email;
   Streaming music;
   Uploading and downloading applications and content to and from the Internet or third party stores;
   Using applications and content without excessively contributing to network congestion; and
   Tethering your Device to other non-harmful devices pursuant to the terms and conditions and allotments of your Data Plan.
Unless explicitly permitted by your Rate Plan or Data Plan, you are not permitted to use your Device or the Services in a way that we determine:
   Uses a repeater or signal booster other than one we provide to you;
   Compromises network security or capacity, degrades network performance, uses malicious software or “malware”, hinders other customers’ access to the network, or otherwise adversely impacts network service
   levels or legitimate data flows;
   Uses applications which automatically consume unreasonable amounts of available network capacity;
   Uses applications which are designed for unattended use, automatic data feeds, automated machine-to-machine connections, or applications that are used in a way that degrades network capacity or functionality;
   Misuses the Service, including "spamming" or sending abusive, unsolicited, or other mass automated communications;
   Accesses the accounts of others without authority;
   Results in more than 50% of your voice and/or data usage being Off-Net (i.e., connected to another provider’s network) for any 2 billing cycles within any 12-month period;
   Results in unusually high usage (specifically, more 50GB (updated periodically) in a month) and the majority of your data usage being Smartphone Mobile HotSpot (tethering) usage for any 3 billing cycles within
   any 6-month period;
   Resells the Service, either alone or as part of any other good or service;
   Tampers with, reprograms, alters, or otherwise modifies your Device to circumvent any of our policies or violate anyone’s intellectual property rights;
   Causes harm or adversely affects us, the network, our customers, employees, business, or any other person;
   Conflicts with applicable law;
   Is not in accordance with these T&Cs; or
   Attempts or assists or facilitates anyone else in any of the above activities.

   https://www.t-mobile.com/templates/popup.aspx?PAsset=Ftr_Ftr_TermsAndConditions                                                                                                                                       4/5
                                                                                                                                                                                                          Exhibit A, p. 4
   7/2/2019                                                                Information about What T-Mobile
                                                                                                  Happens if Terms
                                                                                                             Your Device
                                                                                                                    andisConditions
                                                                                                                          Lost or Stolen

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Once you notify us that your Device has been lost or stolen, we will suspend your Service and you will not be responsible for additional usage charges incurred in excess of your Rate Plan Charges, applicable taxes,
fees, and surcharges. If Charges are incurred before you notify us, you are not liable for Charges you did not authorize. However, the fact that your Device or account was used is some evidence of authorization. You
may ask us to investigate Charges you believe were unauthorized. We may ask you to provide information and you may submit information to support your request. If we determine the Charges were unauthorized, we
will credit your account. If we determine the Charges were authorized, we will inform you within 30 days and you will remain responsible for the Charges. If you request that we not suspend your Service, you will
remain responsible for all Charges incurred. We may prevent a lost or stolen Device from registering on our and other networks.
You can click here to learn about additional anti-theft measures that may apply to you.


                                                                                                    Billing Information
Please read the following for more information about how we bill for calls, data usage and messaging, Wi-Fi usage, third party charges, taxes, and surcharges.

Usage: Airtime usage is measured from the time the network begins to process a call (before the phone rings or the call is answered) through its termination of the call (after you hang up). For voice calls, we round up
any fraction of a minute to the next full minute. Depending upon your Rate Plan, data usage may be rounded at the end of each data session, at the end of your billing cycle, and/or at the time you switch data plans.
You may be charged for more than one call/message when you use certain features resulting in multiple inbound or outbound calls/messages (such as call forwarding, call waiting, voicemail, conference calling, and
multi-party messaging). You will be charged for text, instant or picture messages, and email whether read or unread, sent or received, solicited or unsolicited. We use filters to block spam messages, but we do not
guarantee that you will not receive spam or other unsolicited messages. Additional blocking options are available at www.my.T-Mobile.com. Most usage and Charges incurred during a billing cycle will be included in
your bill for that cycle. Some usage and Charges may be delayed to a later billing cycle, which may cause you to exceed Rate Plan allotments in a later billing cycle. Unused Rate Plan allotments expire at the end of
your billing cycle. You may be billed additional Charges for certain features and services. Charges for Wi-Fi usage may vary; see your Rate Plan for more details.
Taxes: You agree to pay all taxes and fees imposed by governments or governmental entities. We may not give advance notice of changes to these charges. To determine taxes & fees, we use the street address you
identified as your Place of Primary Use (“PPU”). The PPU for Puerto Rico customers must be in Puerto Rico. If you did not identify the correct PPU, or if you provided an address, such as a PO Box, that is not a
recognized street address, does not allow us to identify the applicable taxing jurisdiction(s) or does not reflect the Service area associated with your telephone number, you may be assigned a default location for tax
purposes. Except as may be otherwise required by law, in the event you dispute your PPU or the location we assigned you and the resulting taxes or fees applied on your bill, you must request a refund of the disputed
tax or fee within 60 days of the date of our bill containing such tax or fee. Regardless of any Rate Plan guarantee, taxes and fees may change from time to time without notice.

Surcharges: You agree to pay all surcharges applicable to your Rate Plan. Surcharges are not mandated or imposed on you by law, they are T-Mobile Charges that are determined, collected and retained by us. The
components and amounts of the Surcharges are subject to change without notice. Surcharges include charges, costs, fees and certain taxes that we incur to provide Services (and are not government taxes or fees
imposed directly on our customers). Examples include general and administrative fees (such as certain costs we incur to provide Service) as well as governmental-related assessments (such as Federal or State
Universal Service fees, regulatory or public safety charges, environmental fees, and gross receipts taxes). Surcharges assessed to you will vary depending on the type of Service and the Rate Plan you have.
Surcharges will apply whether or not you benefit from the programs, activities or services included in the Surcharge. When Surcharges are assessed in connection with your Service, you can find the Surcharges
detailed in either the “Taxes, Fees & Surcharges”, “T-Mobile Fees and Charges” or the “Other Charges” sections of your bill or at www.my.T-Mobile.com. Regardless of any Rate Plan guarantee, Surcharges may
change from time to time without notice.

                                                                                           Additional Software License Terms
Except as permitted by applicable law, you may not assign, transfer, sublicense, copy, reproduce, redistribute, resell, modify, decompile, attempt to derive the source code of, or reverse engineer all or any part of the
Software, or alter, disable or circumvent any digital rights management security features embedded in the Software. The Software may not be transferable from one Device to another Device. You may not create
derivative works of all or any part of the Software. You agree the Software contains proprietary content and information owned by T-Mobile, its licensors, and/or other third parties. T-Mobile, its licensors, and such other
third parties reserve the right to change, suspend, terminate, remove, impose limits on the use or access to, or disable access to, the Software at any time without notice and will have no liability for doing so. You
agree that your violation of the Software license harms T-Mobile, its licensors, and/or other third parties, that this harm cannot be fully redressed by money damages, and that T-Mobile, its licensors, and such other
third parties shall be entitled to immediate injunctive relief in addition to all other remedies available.


                                                                                                     Additional Terms
If we don't enforce our rights under this Agreement in one instance, that doesn't mean we won't or can't enforce those rights in any other instance. If any part of the Agreement is held invalid that part may be severed
from the Agreement.

You can't assign or transfer the Agreement or any of your rights or duties under it without our written consent. We may assign or transfer all or part of the Agreement, or your debts to us, without notice. You understand
that the assignment or transfer of all or any part of this Agreement or your debt will not change or relieve your obligations under this Agreement.

The Agreement is the entire agreement between you and us regarding the rights you have with respect to your Service, except as provided by law, and you cannot rely on any other documents or statements by any
sales or service representatives or other agents.
The original version of the Agreement is in English. To the extent there are conflicts between the English version and any other language version, the English version will control.

If you believe that any material residing on our system or network infringes your copyright, notify our Designated Agent by using the Digital Millennium Copyright Act (DMCA) notice procedure described at www.t-
mobile.com/responsibility/legal/copyright (http://es.t-mobile.com/responsibility/legal/copyright for our Spanish website). Our Designated Agent is Copyright Agent, 12920 S.E. 38th Street, Bellevue, WA 98006;
copyrightagent@t-mobile.com; phone: 425-383-4000. There are substantial penalties for sending false notices. It is our policy, in appropriate circumstances and in our sole judgment, to suspend or terminate the
Service of any subscriber, account holder, or user who is deemed to be a repeat or blatant infringer of copyrights.


                                                                                                     © 2002-2019 T-Mobile USA, Inc.




   https://www.t-mobile.com/templates/popup.aspx?PAsset=Ftr_Ftr_TermsAndConditions                                                                                                                                 5/5
                                                                                                                                                                                                    Exhibit A, p. 5
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                 EXHIBIT B
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Receipt

Store                                           Customer                                      Date:               11-14-2018 17:00:44
T-MOBILE - 2060                                 SHAWNAY RAY                                   Account #:          ******522
5400 BELAIR RD                                          1488                                  Register #:         9
BALTIMORE, MD, 21206-4205                                                                     Trans #:            3600
(410) 488-0327
Sales Rep #: ****959
Transaction Details
SKU                               Description                                                               Qty @ Price      Extension
ZZZ260R060                        TRIPLESIM PLUG 64K T-MOBILE UICC 2017
                                  Mobile Number         1488
                                  IMEI
                                  SIMREP
                                  Not Discount Eligible

ZZZ260R060                        TRIPLESIM PLUG 64K T-MOBILE UICC 2017
                                  Mobile Number:        1488
                                  IMEI
                                  SIMREP
                                  Not Discount Eligible

TM6761                            TMO SIM STARTER KIT FLYER RETAIL
                                  Mobile Number: No Mobile Number
                                  N/A
                                  Not Discount Eligible

TM6761                            TMO SIM STARTER KIT FLYER RETAIL
                                  Mobile Number: No Mobile Number
                                  N/A
                                  Not Discount Eligible


                                                                                                           Sale Amount
                                                                                                     TAX 50.00 @ 6.0%
                                                                                                               Total Tax
                                                                                                                   Total
                                                                                                     Debit           S/O        $
Visit my.t-mobile.com to view details on your account                                           Reference # - 30689734




If you activate or use T-Mobile service, or purchase a T-Mobile device, you agree to T-Mobile's Terms and Conditions and any terms
specific to your rate plan.
If you have a device or accessory under one of our device programs, refer to your agreement for the specific terms and conditions of that
program.

Disputes. T-Mobile REQUIRES ARBITRATION OF DISPUTES unless for new customers YOU OPT OUT WITHIN 30 DAYS OF
ACTIVATION, or for existing customers YOU PREVIOUSLY OPTED OUT PURSUANT TO T-MOBILE’S TERMS AND CONDITIONS.
For details see T-Mobile’s Terms and Conditions at www.T-Mobile.com/terms-conditions.
Return Policy. T-Mobile will gladly assist you with your Returns. You can return or exchange a Device or accessory (“Device”) for a
refund within 14 days of the purchase or lease date of the original Device. Return the Device with your receipt, in its package, with all
contents, undamaged and in good working condition, with no material alterations to the Device’s hardware or software to the sales
channel where you received your Device. Refunds and exchanges will be less any rebates received and shipping costs. Certain
promotional offers may require you to return all items you received with your Device and could cause you to become ineligible for any
promotional discounts. You will also be required to pay a restocking fee as follows: The restocking fee is $75 for advanced, data-focused
devices designed for Web browsing (e.g., tablets, netbooks); $50 for high-end phones and wearable devices with SIM cards designed
for Web and social media, voice and text messaging; and $25 for basic phone devices, data sticks.
Prepaid services, e−coupons and gift cards are non−refundable.




                                                                                                                              Page 1 of 1
                                                                                                                            Exhibit B, p. 1
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                 EXHIBIT C
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Receipt

T-Mobile Web                                    Customer                                       Date:              03-10-2019 18:38:59
www.t-mobile.com                                SHAWNAY RAY                                    Payment #:         10211401872
                                                        1488
Transaction Details
Account and Lines                 Description                                                                           Price    Due Today
Service Related Charges
Account

      1544
                                  One time charge for Restore From
                                                                                                                    $                   $
                                  Suspend

                                                                                                              Taxes & Fees                  $
                                                                                                                 Total Due              $

                                  T-Mobile Fees and Charges & Government Taxes and Fees
                                  Service Charge taxes based on Place of Primary Use address
                                  T-Mobile fees and charges
                                    Federal Universal Service Fund                              $
                                  Taxes and fees

      1488
                                  One time charge for Restore From
                                                                                                                    $                   $
                                  Suspend

                                                                                                              Taxes & Fees                  $
                                                                                                                 Total Due              $

                                  T-Mobile Fees and Charges & Government Taxes and Fees
                                  Service Charge taxes based on Place of Primary Use address
                                  T-Mobile fees and charges
                                    Federal Universal Service Fund                              $
                                  Taxes and fees                                                $


                                                                                                                                    $
                                                                                                          Total Payment               $
                                                                                                                                    $
Visit my.t-mobile.com to view details on your account                                                  ****    000197               $




If you activate or use T-Mobile service, or purchase a T-Mobile device, you agree to T-Mobile's Terms and Conditions and any terms
specific to your rate plan.
If you have a device or accessory under one of our device programs, refer to your agreement for the specific terms and conditions of that
program.

Disputes. T-Mobile REQUIRES ARBITRATION OF DISPUTES unless for new customers YOU OPT OUT WITHIN 30 DAYS OF
ACTIVATION, or for existing customers YOU PREVIOUSLY OPTED OUT PURSUANT TO T-MOBILE’S TERMS AND CONDITIONS.
For details see T-Mobile’s Terms and Conditions at www.T-Mobile.com/terms-conditions.
Return Policy. T-Mobile will gladly assist you with your Returns. You can return or exchange a Device or accessory (“Device”) for a
refund within 14 days of the purchase or lease date of the original Device. Return the Device with your receipt, in its package, with all
contents, undamaged and in good working condition, with no material alterations to the Device’s hardware or software to the sales
channel where you received your Device. Refunds and exchanges will be less any rebates received and shipping costs. Certain
promotional offers may require you to return all items you received with your Device and could cause you to become ineligible for any
promotional discounts. You will also be required to pay a restocking fee as follows: The restocking fee is $75 for advanced, data-focused
devices designed for Web browsing (e.g., tablets, netbooks); $50 for high-end phones and wearable devices with SIM cards designed
for Web and social media, voice and text messaging; and $25 for basic phone devices, data sticks.


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                                                                                                                                Exhibit C, p. 1
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Prepaid services, e−coupons and gift cards are non−refundable.




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                                                                                    Exhibit C, p. 2
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                 EXHIBIT D
                    Case 1:19-cv-01299-JKB Document 12-3 Filed 07/08/19 Page 13 of 30                                                   REDACTED


Receipt

T-Mobile Customer Care                          Customer                                        Date:                  04-23-2019 09:03:33
1-800-123-1234                                  SHAWNAY RAY                                     Payment #:             10227205998
                                                        1488
Transaction Details
Account and Lines                 Description                                                                                   Price    Due Today
Service Related Charges
Account
                                  Applied towards Bill Payment                                                          $

4106941544
                                  One time charge for Restore From
                                                                                                                            $                   $
                                  Suspend

                                                                                                                  Taxes & Fees                      $
                                                                                                                     Total Due                  $

                                  T-Mobile Fees and Charges & Government Taxes and Fees
                                  Service Charge taxes based on Place of Primary Use address
                                  T-Mobile fees and charges
                                    Federal Universal Service Fund                                 $
                                  Taxes and fees                                                   $

4106941488
                                  One time charge for Restore From
                                                                                                                            $                   $
                                  Suspend

                                                                                                                  Taxes & Fees                      $
                                                                                                                     Total Due                  $

                                  T-Mobile Fees and Charges & Government Taxes and Fees
                                  Service Charge taxes based on Place of Primary Use address
                                  T-Mobile fees and charges
                                    Federal Universal Service Fund                                 $
                                  Taxes and fees                                                   $


                                                                                              Applied towards Bill Payment                  $
                                                                                Applied towards restore fee(now paid in full)                 $
                                                                                                             Total Payment                  $
                                                                                                    VISA ***        011040                  $
Visit my.t-mobile.com to view details on your account                                            Reference # - 157093617




If you activate or use T-Mobile service, or purchase a T-Mobile device, you agree to T-Mobile's Terms and Conditions and any terms
specific to your rate plan.
If you have a device or accessory under one of our device programs, refer to your agreement for the specific terms and conditions of that
program.

Disputes. T-Mobile REQUIRES ARBITRATION OF DISPUTES unless for new customers YOU OPT OUT WITHIN 30 DAYS OF
ACTIVATION, or for existing customers YOU PREVIOUSLY OPTED OUT PURSUANT TO T-MOBILE’S TERMS AND CONDITIONS.
For details see T-Mobile’s Terms and Conditions at www.T-Mobile.com/terms-conditions.
Return Policy. T-Mobile will gladly assist you with your Returns. You can return or exchange a Device or accessory (“Device”) for a
refund within 14 days of the purchase or lease date of the original Device. Return the Device with your receipt, in its package, with all
contents, undamaged and in good working condition, with no material alterations to the Device’s hardware or software to the sales
channel where you received your Device. Refunds and exchanges will be less any rebates received and shipping costs. Certain
promotional offers may require you to return all items you received with your Device and could cause you to become ineligible for any
promotional discounts. You will also be required to pay a restocking fee as follows: The restocking fee is $75 for advanced, data-focused
devices designed for Web browsing (e.g., tablets, netbooks); $50 for high-end phones and wearable devices with SIM cards designed

Rev052017                                                                                                                                 Page 1 of 2
                                                                                                                                        Exhibit D, p. 1
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for Web and social media, voice and text messaging; and $25 for basic phone devices, data sticks.
Prepaid services, e−coupons and gift cards are non−refundable.




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                                                                                                    Exhibit D, p. 2
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                  EXHIBIT E
$tmo$PRINTONLYS$




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                                                              $cb$
$tmo$PRINTONLYE$



                   Service Terms

                   $tmo$tablestart$



                   Date:                                        02/06/2019
                   Account #:                                          0406
                   Account Type:                                POSTPAID
                   Bill Format:                                 Mail-In
                   Estimated Bill Date:                         7
                   $tmo$tableend$




                   Store                                                               Customer
                   T-MOBILE - 214E                                                     KANTICE S JOYNER
                   (443) 244-9344
                   Rep: JOSHUA ABRAMSON
                   $tmo$tablestart$




                   Transaction Details
                   Account & Lines Description                                                                                                            Monthly Charges
                                            4960   T-Mobile ONE
                                                   IMEI:                      , SIM:
                                                   Scam ID
                                                   T-Mobile ONE Plus

                                            5703   DIGITS Talk & Text
                                                   IMEI: , SIM:
                                                   Scam ID MI
                   Total Monthly Charges

                   Excluding device charges (if applicable)

                   $tmo$tableend$
                   $tmo$acceptancestart$



                   CUSTOMER ACCEPTANCE:

                   By accepting this form, activating or using T-Mobile service, you agree that:
                                      ● Your first service cycle may start several days after your activation. International rates and roaming charges may apply. Certain
                                           rates are subject to change at any time. If you have a device or accessory under one of our device programs, refer to your
                                           agreement for the specific terms and conditions of that program.
                                      ● Paperless Billing. You are consenting to receive your bill electronically and will not receive a paper bill. You can review your
                                           paperless bill by accessing your account at www.T-Mobile.com or by following the link provided in your notification e-mail or text
                                           message. You can print a copy of your bill for free and request a mailed copy of your bill. You can update your billing preferences
                                           in your account at www.T-Mobile.com or by calling T-Mobile. Please read the complete Paperless Billing Terms & Conditions
                                           available at www.t-mobile.com/billterms.
                                      ● Your "Agreement" with T-Mobile includes: (a) this Service Agreement; (b) T-Mobile's "Terms and Conditions"; (c) any terms
                                           specific to your Rate Plan or service; and (d) the DIGITS Terms of Use (“DIGITS TOU”), which contains important limitations on
                                           9-1-1 Emergency Service availability and reliability when using DIGITS, and information about user access to call information
                                           and text messages for shared DIGITS lines. You can obtain copies of T-Mobile's Terms and Conditions and your Rate
                                           Plan specific terms at www.T-Mobile.com (www.T-Mobilepr.com for Puerto Rico customers), and you can obtain copies
                                           of the DIGITS TOU at https://www.t-mobile.com/landing/digits-terms-of-use.html, or by calling Customer Care at (800)
                                           937−8997 or 611 from your T-Mobile phone. You agree you have received and read your Agreement. The English version of
                                           this Agreement will control over any other version.
                                      ● Disputes. T-Mobile requires ARBITRATION OF DISPUTES UNLESS YOU OPT−OUT WITHIN 30 DAYS OF ACTIVATION.
                                           For details see www.T-Mobile.com/terms-conditions.
                                      ● Cancellation and Return Policy. You may cancel your Rate Plan by going back to the original point of purchase and returning
                                           all devices you acquired with your activation within 14 days from your activation date (Cancellation Period).
                                      ● You authorize T−Mobile and its agents to obtain information about your credit history and to share that information
                                           with credit reporting agencies.
                   $tmo$acceptanceend$




                   Signature:                       $sisa1$                                  Date:        $disa1$




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                                                                                                                                                                 Exhibit E, p. 1
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                                                                    Exhibit E, p. 2
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                  EXHIBIT F
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                         $cb$
                                                                                                                       PLAN ID:
EQUIPMENT INSTALLMENT PLAN (EIP) CONTRACT AND DISCLOSURES                                                                 0894

Seller/Creditor:                                Buyer:                                     Date:              02/07/2019
T-Mobile Financial LLC                          KANTICE JOYNER                             Account:                 0406
12920 SE 38th Street
Bellevue, WA 98006
1-800-937-8997                                           4960

SKU - Description                                               Serial / IMEI Number         Price Down Payment          Balance
                                                                                                      Paid Today
000000610214656322 - LG LMQ710TSB STYLO 4 32G BLK
KIT
Total Sales Tax (estimated):                                                    Total


Truth-in-Lending Disclosures
    ANNUAL                        FINANCE
                                                    Amount Financed         Total of Payments           Total Sale Price
PERCENTAGE RATE                   CHARGE
                                                                             The amount you         (The total cost of your
                                   The dollar       The amount of credit     will have paid after
     The cost of your                                                                               purchase on credit,
                                amount the credit     provided to you        you have made all
  credit as a yearly rate.                                                   payments as            including yo
                                  will cost you.     or on your behalf.                             payment of           ).
                                                                             scheduled.
            0.00%                    $0.00

Your Payment Schedule will be:
  Number of Payments               Amount of        When Payments are Due
                                   Payments


The Annual Percentage Rate does not take into account your required deposit.

See your contract documents for any additional information about nonpayment, default, and any required repayment in
full before the scheduled date.




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                                                                                                                     Exhibit F, p. 1
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EQUIPMENT INSTALLMENT PLAN (EIP) CONTRACT AND DISCLOSURES                                                               0894



Itemization of the Amount Financed of $48.00

         Cash Price
         (a)
         Sales Tax (estimated)
         (b)
         Total Cash Price plus Sales Tax
         (c) = (a) + (b)
         Cash Down Payment
         (d)
         Sales Tax paid at time of sale (or deferred to first monthly bill)
         (e)
         Unpaid Balance of Cash Price/Unpaid Balance
         (f) = (c) - (d) - (e)
         Prepaid FINANCE CHARGE
         (g)                                                                                     $0.00
         Amount Financed
         (h) = (f) - (g)


Late Charge. No late charges will be imposed on a late Equipment Installment Plan payment.

Agreement to Purchase and Make Payments. Except as provided below, you agree to purchase from Seller (³we,´
³us,´ or ³our´) the items described above (the ³equipment´) on the terms set forth in this agreement. Affiliates of T-Mobile
Financial LLC (³T-Mobile Financial´, and together with its affiliates, ³T-Mobile´, ³we,´ ³us,´ or ³our´) provide wireless service
to you (the ³Service´). Subject to our delivery to you of the equipment identified above and purchased by you, and subject
to your right to cancel this agreement as provided below, you agree to make payments according to the payment schedule
above. In addition, you agree to maintain Service on any equipment purchased under this agreement for the term of this
agreement. If you accept this agreement after the date it is made available to you, your first monthly payment may be due
one month later than the date shown above. The Truth-in-Lending Disclosures above are part of this agreement. Equipment
purchased under this agreement will appear on the monthly billing statements for your Service plan. Partial payments may
result in the suspension or cancellation of your Service and in equipment not operating on T-Mobile¶s network. You may
prepay this agreement, in whole or in part, at any time without penalty. Partial prepayments will not change your obligation
to continue to make scheduled payments, except that you may finish making payments early. This is a one-time extension
of credit by us to you.

You have the right to cancel this agreement within 14 days (or more based upon where you made the purchase) of your
acceptance and return the equipment in accordance with our return policy. If you exercise this right you will have no
payment obligation under this agreement. Your equipment may not work with wireless services or on wireless networks
that are not provided by T-Mobile.

Manufacturer warranty information, if any, is provided with the items sold.

Protections for Service Members and Their Families: Federal law provides important protections to members of the
Armed Forces and their dependents relating to extensions of consumer credit. In general, the cost of consumer credit to
a member of the Armed Forces and his or her dependent (a ³Covered Buyer´) may not exceed an annual percentage rate
of 36 percent. This rate must include, as applicable to the credit transaction or account: The costs associated with credit
insurance premiums; fees for ancillary products sold in connection with the credit transaction; any application fee charged
(other than certain application fees for specified credit transactions or accounts); and any participation fee charged (other
than certain participation fees for a credit card account).

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                                                                                                                     Exhibit F, p. 2
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EQUIPMENT INSTALLMENT PLAN (EIP) CONTRACT AND DISCLOSURES                                                               0894


You are a ³Covered Buyer´ if at the time of establishing this EIP you are an active duty service member or an active Guard
or Reserve duty member, or you are a qualifying dependent of that member.

       Oral Disclosure: If you are a Covered Buyer, you may obtain information about this EIP, including information
       about the payment obligation, by calling us, at 1-844-279-9461.

* Dispute Resolution and Arbitration. If you are a Covered Buyer, the following provisions relating to arbitration do not
apply to this EIP. This section describes how any disputes between you and T-Mobile will be resolved. WE AND YOU
EACH AGREE THAT, EXCEPT AS PROVIDED BELOW, ANY AND ALL CLAIMS OR DISPUTES IN ANY WAY RELATED
TO OR CONCERNING THIS AGREEMENT, OUR PRIVACY POLICY, OUR SERVICES, EQUIPMENT, DEVICES OR
PRODUCTS, INCLUDING ANY BILLING DISPUTES, WILL BE RESOLVED BY BINDING ARBITRATION OR IN SMALL
CLAIMS COURT. This includes any claims against others relating to services or equipment provided or billed to you (such
as our suppliers, dealers or vendors) when you also assert claims against us in the same proceeding. This agreement
affects interstate commerce so that the Federal Arbitration Act and federal arbitration law apply (despite the choice of law
provision below). THERE IS NO JUDGE OR JURY IN ARBITRATION, AND COURT REVIEW OF AN ARBITRATION
AWARD IS LIMITED. THE ARBITRATOR MAY AWARD ON AN INDIVIDUAL BASIS THE SAME DAMAGES AND RELIEF
AS A COURT (INCLUDING ATTORNEYS¶ FEES).

Notwithstanding the above, YOU MAY CHOOSE TO PURSUE YOUR CLAIM IN COURT INSTEAD OF ARBITRATION IF
YOU OPT OUT OF THESE ARBITRATION PROCEDURES. To opt out, call 1-866-323-4405 or complete the opt-out form
located at www.T-Mobiledisputeresolution.com. TO BE EFFECTIVE, YOU MUST OPT OUT BY THE OPT OUT DEADLINE
FOR EACH LINE OF SERVICE. THE OPT OUT DEADLINE IS 30 DAYS FROM THE EARLIER OF THE DATE OF YOUR
SIGNATURE TO THIS AGREEMENT, THE DATE YOU PURCHASED EQUIPMENT FROM US OR THE DATE YOU
ACTIVATED A NEW LINE EXCEPT THAT FOR A LINE OF SERVICE ACTIVATED PRIOR TO JUNE 28, 2008, THE OPT
OUT DEADLINE IS 30 DAYS FROM THE FIRST TIME AFTER DECEMBER 30, 2011 WHEN YOU AGREED TO EXTEND
OR RENEW YOUR TERM OF SERVICE FOR THAT LINE.

We and you each agree that if you fail to timely pay amounts due, we may assign your account for collection, and we or
the collection agency may pursue, in small claims court, claims limited strictly to the collection of the past due amounts and
any interest or cost of collection permitted by law or this Agreement.

To begin arbitration, you must send a letter requesting arbitration and describing your claim to our registered agent. The
American Arbitration Association ("AAA") will arbitrate all disputes. For claims less than $75,000, the AAA¶s Consumer
Arbitration Rules will apply; for claims over $75,000, the AAA¶s Commercial Arbitration Rules will apply. The AAA rules
are available at www.adr.org or by calling 1-800-778-7879. Upon filing of the arbitration demand, we will pay all filing,
administration and arbitrator fees for claims that total less than $75,000. For claims under $75,000, if the arbitrator finds
that you are the prevailing party in the arbitration, you will be entitled to a recovery of reasonable attorneys¶ fees and costs.
Except for claims determined to be frivolous, T-Mobile agrees not to seek an award of attorneys¶ fees in arbitration.

* CLASS ACTION WAIVER. WE AND YOU EACH AGREE THAT ANY PROCEEDINGS, WHETHER IN ARBITRATION
OR COURT, WILL BE CONDUCTED ONLY ON AN INDIVIDUAL BASIS AND NOT IN A CLASS OR REPRESENTATIVE
ACTION. If a court or arbitrator determines in an action between you and us that this Class Action Waiver is unenforceable,
the arbitration agreement will be void as to you. If you choose to pursue your claim in court by opting out of the arbitration
provision as specified above, this Class Action Waiver provision will not apply to you. Neither you, nor any other customer,
can be a class representative, class member, or otherwise participate in a class, consolidated, or representative proceeding
without having complied with the opt out requirements above.

* JURY TRIAL WAIVER. If a claim proceeds in court rather than through arbitration, unless otherwise prohibited by law
WE AND YOU EACH WAIVE ANY RIGHT TO A JURY TRIAL.




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                                                                                                                     Exhibit F, p. 3
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For customers participating in an Equipment Installment Plan promotion only. If you qualify for an eligible device
promotion, view the promotional offer details at www.T-Mobile.com/PromotionalOffers. Device promotions may be fulfilled
via monthly bill credits and may not appear on your next bill. Please note that certain device promotion offers may include
options that may be requested at the time of service termination. If you choose to terminate service for a device subject
to such a promotion, you may be required to specifically choose or elect certain options before you request transfer of
a device from active T-Mobile wireless service to another carrier¶s service, to avoid losing monthly bill credits or other
promotion-related benefits. (Please also see the terms of the ³Default´ section set forth in this agreement.)

Organization/Corporate/Government Customers. If you are signing this agreement on behalf of an organization,
corporate or government customer, you represent and warrant that you are authorized to sign this agreement on behalf
of such corporation or organization. In addition, in the event that you receive T-Mobile Service, the terms and conditions
of your wireless services agreement with T-Mobile will apply to this transaction, but if any of those terms and conditions
are inconsistent with anything stated in this agreement, this agreement will prevail. Otherwise your wireless services
agreement with T-Mobile will continue to be valid and enforceable under its terms. If you are signing this agreement on
behalf of an organization, corporate or government customer, we and you agree that the equipment is not being sold
primarily for personal, family or household purposes.

Credit Checks. We, along with our agents and other third parties involved in the transaction, may get information about
your credit history from credit-reporting agencies, which may affect your credit rating. We may also report your payment
record to credit-reporting agencies. You are hereby notified that a negative credit report reflecting on your credit record
may be submitted to a credit reporting agency if you fail to fulfill the terms of your credit obligations.

Equipment Refunds and Restocking Fees. For equipment returns and exchanges, see our return policy. Some
equipment may not be refunded or exchanged, and/or you may be required to pay a restocking fee. This agreement applies
to any equipment provided to you in exchange for the equipment originally purchased pursuant to this agreement.

Risk of Loss. You bear the entire risk of loss, theft or damage to the equipment from any cause during the term of this
agreement. Even if the equipment is lost, stolen or damaged, you remain obligated for the total of the payments. You
should consider purchasing insurance on the equipment.

Default. Except where prohibited by law, you will be in default if you: fail to make any payment when required; violate any
provision of this agreement; fail to maintain Service for any device purchased under this agreement; fail to activate
Service within 30 days of the date hereof; or become the subject of any bankruptcy or insolvency proceeding.

Except where prohibited by law, if you are in default under this agreement, we may declare the remaining unpaid balance of
the agreement immediately due and payable. However, if you are in default solely because of a failure to maintain Service
(and for no other reason), and you have purchased at least one device under this agreement that is subject to monthly bill
credits pursuant to an eligible Equipment Installment Plan device promotion (as described more fully above) at the time
of your default, you agree that we may declare the unpaid balance of this agreement associated with any and all devices
that are not subject to monthly bill credits immediately due and payable, and we may agree at your request (subject to the
applicable terms of the Equipment Installment Plan device promotion) to allow monthly installment payments to continue
for any balance associated with a device that is subject to eligible monthly bill credits at the time of your default, until the
earlier of (a) the original scheduled final payment due date under this agreement, (b) the date the monthly bill credits for
a device purchased under this agreement expires, or (c) the date you are in default under this agreement for reasons
unrelated to a failure to maintain Service.

Compliance with Law. You will not use, nor will you permit the use of, the equipment in violation of any law.

* Enforceability and Assignment. If we don't enforce our rights under this agreement in one instance, that doesn't mean
we won't or can't enforce those rights in any other instance. Except as provided in the paragraph marked ³CLASS ACTION
WAIVER´, if any part of this agreement is held invalid that part may be severed from the agreement. You can't assign
this agreement or any of your rights or duties under it and will not sell or offer to sell or transfer or enter into any lease
with respect to the equipment covered by this agreement without our written consent. We may assign all or part of this
agreement, or your debts to us, without notice. You understand that the assignment of all or any part of this agreement
will not change or relieve your obligations under this agreement. This agreement is the entire agreement between us and
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                                                                                                                    Exhibit F, p. 4
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defines all of the rights you have with respect to this agreement, except as provided by law, and you cannot rely on any
other documents or statements by any sales or service representatives or other agents. If you purchase equipment,
services or content from a third party, you may have a separate agreement with the third party; we are not a party to that
agreement. The original version of this agreement is in English. To the extent there are conflicts between the English
version and any other language version, the English version will control. Any determination made by us pursuant to this
agreement shall be in our sole reasonable discretion. Paragraphs marked ³*´ continue after termination of our agreement
with you.

* Disclaimer of Warranties. EXCEPT FOR ANY WRITTEN WARRANTY THAT MAY BE PROVIDED WITH THE
EQUIPMENT THAT YOU PURCHASE OR FINANCE FROM US, AND TO THE EXTENT PERMITTED BY LAW, THE
EQUIPMENT IS PROVIDED ON AN ³AS IS´ AND ³WITH ALL FAULTS´ BASIS AND WITHOUT WARRANTIES OF ANY
KIND. WE MAKE NO REPRESENTATIONS OR WARRANTIES, EXPRESS OR IMPLIED, INCLUDING ANY IMPLIED
WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE CONCERNING THE EQUIPMENT
PURCHASED. WE DON'T AUTHORIZE ANYONE TO MAKE ANY WARRANTIES ON OUR BEHALF. THIS DOESN'T
DEPRIVE YOU OF ANY WARRANTY RIGHTS YOU MAY HAVE AGAINST ANYONE ELSE.

* Waivers and Limitations of Liability. UNLESS PROHIBITED BY LAW, WE AND YOU EACH AGREE TO LIMIT
CLAIMS FOR DAMAGES OR OTHER MONETARY RELIEF AGAINST EACH OTHER TO DIRECT AND ACTUAL
DAMAGES REGARDLESS OF THE THEORY OF LIABILITY. THIS MEANS THAT NEITHER OF US WILL SEEK ANY
INDIRECT, SPECIAL, CONSEQUENTIAL, TREBLE, OR PUNITIVE DAMAGES FROM THE OTHER. THIS LIMITATION
AND WAIVER ALSO APPLIES TO ANY CLAIMS YOU MAY BRING AGAINST ANY OTHER PARTY TO THE EXTENT
THAT WE WOULD BE REQUIRED TO INDEMNIFY THAT PARTY FOR SUCH CLAIM. YOU AGREE WE ARE NOT
LIABLE FOR PROBLEMS CAUSED BY YOU OR A THIRD PARTY. EXCEPT TO THE EXTENT PROHIBITED BY LAW,
ALL CLAIMS MUST BE BROUGHT WITHIN 2 YEARS OF THE DATE THE CLAIM ARISES.

* Indemnification. You agree to defend, indemnify, and hold us and our affiliates, directors, officers, and employees
harmless from any claims arising out of use of the equipment, breach of this agreement, or violation of any laws or
regulations or the rights of any third party by you, any person on your account or that you allow to use your equipment.

* Notices and Customer Communications. T-Mobile may contact you for any purpose and in any manner permitted
by law. You also expressly consent to be contacted by us, and anyone contacting you on our behalf, for any purpose,
including billing, collection, or other account or service-related purpose, at any telephone number or physical or electronic
address where you may be reached, including any wireless telephone number. You agree that we, and anyone contacting
you on our behalf, may communicate with you in any manner, including through the use of pre-recorded or artificial voice,
an automatic telephone dialing system, or an automatic e-mail system. You represent that you have received, and are
authorized to convey to us, the consent of any authorized users on your account to be contacted by us as described in
this paragraph. You further agree that all consents provided in this paragraph will survive termination or expiration of this
agreement. To withdraw your consent, please notify T-Mobile. Notices from us to you are considered delivered when we
send them to your device or by email or fax to any email or fax number you provided to us, or 3 days after mailing to your
billing address. If you would like to designate a ³Primary Telephone Number´, please contact us.

You may contact T-Mobile by calling 877-453-1304, or by writing to: EIP Program Customer Relations, P.O. Box 37380,
Albuquerque, NM 87176-7380. Notices from you to us are considered delivered 3 days after mailing to the address above.

To begin arbitration or other legal proceeding, you must serve T-Mobile¶s registered agent. T-Mobile¶s registered agent is
Corporation Service Company and can be contacted at 1-866-403-5272.

* Choice of Law. This agreement is governed by the Federal Arbitration Act, applicable federal law, and the laws of
the state in which your billing address in our records is located, without regard to the conflicts of laws rules of that state.
Foreign laws do not apply. Arbitration or court proceedings must be in the county and state in which your billing address
in our records is located, but not outside the U.S. If any provision of the agreement is invalid under the law of a particular
jurisdiction, that provision will not apply in that jurisdiction.

                                                           NOTICE

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ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH
THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO
OR WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS
PAID BY THE DEBTOR HEREUNDER.

You acknowledge review and receipt of our Financial Privacy Policy. You also acknowledge receipt of a completely
filled-in copy of this EIP agreement when you signed it.




Buyer's Signature:
Date Signed:          $diEIP201902070119040894$
                         
Seller's Signature:      T-Mobile Financial LLC
Date Signed:             02/07/2019




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                 EXHIBIT G
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Receipt

T-Mobile Customer Care                          Customer                                        Date:                  03-07-2019 07:09:07
1-800-123-1234                                  KANTICE S JOYNER                                Payment #:             10210299656
                                                (       6570
Transaction Details
Account and Lines                 Description                                                                              Price    Due Today
Service Related Charges
Account
                                  Applied towards Bill Payment

4103146570
                                  One time charge for Restore From
                                  Suspend

                                                                                                                  Taxes & Fees
                                                                                                                     Total Due

                                  T-Mobile Fees and Charges & Government Taxes and Fees
                                  Service Charge taxes based on Place of Primary Use address
                                  T-Mobile fees and charges
                                    Federal Universal Service Fund
                                  Taxes and fees


                                                                                              Applied towards Bill Payment
                                                                                Applied towards restore fee(now paid in full)
                                                                                                             Total Payment
Visit my.t-mobile.com to view details on your account                                                       Check




If you activate or use T-Mobile service, or purchase a T-Mobile device, you agree to T-Mobile's Terms and Conditions and any terms
specific to your rate plan.
If you have a device or accessory under one of our device programs, refer to your agreement for the specific terms and conditions of that
program.

Disputes. T-Mobile REQUIRES ARBITRATION OF DISPUTES unless for new customers YOU OPT OUT WITHIN 30 DAYS OF
ACTIVATION, or for existing customers YOU PREVIOUSLY OPTED OUT PURSUANT TO T-MOBILE’S TERMS AND CONDITIONS.
For details see T-Mobile’s Terms and Conditions at www.T-Mobile.com/terms-conditions.
Return Policy. T-Mobile will gladly assist you with your Returns. You can return or exchange a Device or accessory (“Device”) for a
refund within 14 days of the purchase or lease date of the original Device. Return the Device with your receipt, in its package, with all
contents, undamaged and in good working condition, with no material alterations to the Device’s hardware or software to the sales
channel where you received your Device. Refunds and exchanges will be less any rebates received and shipping costs. Certain
promotional offers may require you to return all items you received with your Device and could cause you to become ineligible for any
promotional discounts. You will also be required to pay a restocking fee as follows: The restocking fee is $75 for advanced, data-focused
devices designed for Web browsing (e.g., tablets, netbooks); $50 for high-end phones and wearable devices with SIM cards designed
for Web and social media, voice and text messaging; and $25 for basic phone devices, data sticks.
Prepaid services, e−coupons and gift cards are non−refundable.




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                 EXHIBIT H
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Receipt

T-Mobile Customer Care                          Customer                                      Date:               03-20-2019 01:00:00
1-800-123-1234                                  KANTICE S JOYNER                              Payment #:          10214795830
Transaction Details
Account and Lines                 Description                                                                         Price    Due Today
Service Related Charges
Account
                                  Applied towards Bill Payment


                                                                                            Applied towards Bill Payment
                                                                                                          Total Payment
Visit my.t-mobile.com to view details on your account                                                    Check




If you activate or use T-Mobile service, or purchase a T-Mobile device, you agree to T-Mobile's Terms and Conditions and any terms
specific to your rate plan.
If you have a device or accessory under one of our device programs, refer to your agreement for the specific terms and conditions of that
program.

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refund within 14 days of the purchase or lease date of the original Device. Return the Device with your receipt, in its package, with all
contents, undamaged and in good working condition, with no material alterations to the Device’s hardware or software to the sales
channel where you received your Device. Refunds and exchanges will be less any rebates received and shipping costs. Certain
promotional offers may require you to return all items you received with your Device and could cause you to become ineligible for any
promotional discounts. You will also be required to pay a restocking fee as follows: The restocking fee is $75 for advanced, data-focused
devices designed for Web browsing (e.g., tablets, netbooks); $50 for high-end phones and wearable devices with SIM cards designed
for Web and social media, voice and text messaging; and $25 for basic phone devices, data sticks.
Prepaid services, e−coupons and gift cards are non−refundable.




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                  EXHIBIT I
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Receipt

T-Mobile Customer Care                          Customer                                      Date:               04-18-2019 01:00:00
1-800-123-1234                                  KANTICE S JOYNER                              Payment #:          10224980611
Transaction Details
Account and Lines                 Description                                                                         Price    Due Today
Service Related Charges
Account
                                  Applied towards Bill Payment


                                                                                            Applied towards Bill Payment
                                                                                                          Total Payment
                                                                                                  VISA
Visit my.t-mobile.com to view details on your account                                         Reference # - 150580778




If you activate or use T-Mobile service, or purchase a T-Mobile device, you agree to T-Mobile's Terms and Conditions and any terms
specific to your rate plan.
If you have a device or accessory under one of our device programs, refer to your agreement for the specific terms and conditions of that
program.

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ACTIVATION, or for existing customers YOU PREVIOUSLY OPTED OUT PURSUANT TO T-MOBILE’S TERMS AND CONDITIONS.
For details see T-Mobile’s Terms and Conditions at www.T-Mobile.com/terms-conditions.
Return Policy. T-Mobile will gladly assist you with your Returns. You can return or exchange a Device or accessory (“Device”) for a
refund within 14 days of the purchase or lease date of the original Device. Return the Device with your receipt, in its package, with all
contents, undamaged and in good working condition, with no material alterations to the Device’s hardware or software to the sales
channel where you received your Device. Refunds and exchanges will be less any rebates received and shipping costs. Certain
promotional offers may require you to return all items you received with your Device and could cause you to become ineligible for any
promotional discounts. You will also be required to pay a restocking fee as follows: The restocking fee is $75 for advanced, data-focused
devices designed for Web browsing (e.g., tablets, netbooks); $50 for high-end phones and wearable devices with SIM cards designed
for Web and social media, voice and text messaging; and $25 for basic phone devices, data sticks.
Prepaid services, e−coupons and gift cards are non−refundable.




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